        Case 19-11134-pmm                         Doc         Filed 10/04/22 Entered 10/04/22 14:18:20                               Desc Main
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 Fill in this information to identify the case:

  Debtor 1              Elena Papanikolaou

  Debtor 2
  (Spouse, if filing)


  United States Bankruptcy Court for the: Eastern District of Pennsylvania
                                                                                  (State)
  Case number           19-11134-elf



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15
If the debtor's plan provides for payment of post-petition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor: Nationstar Mortgage LLC                                         Court claim no. (if known): 18-1
   Last 4 digits of any number you use to                                            Date of payment change:
   identify the debtor's account:                             XXXXXX2331             Must be at least 21 days after date       05/01/2021
                                                                                     of this notice
                                                                                   **In instances where the borrower has been harmed due to a missed/late
                                                                                   payment change notice, Nationstar will provide a credit to the borrower
                                                                                   for each payment that came due that was affected by the missed/late
                                                                                   payment change notice.**

                                                                                     New total payment:                        $ 2,607.83
                                                                                     Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
             No
             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                  the basis for the change. If a statement is not attached, explain why:

                        Current escrow payment:           $                                        New escrow payment: $



Part 2:         Mortgage Payment Adjustment

 2.      Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
         variable-rate account?
             No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                  attached, explain why:

                        Current interest rate                                %                     New interest rate:                       %

                        Current principal and interest payment: $                                  New principal and interest payment: $


Part 3:         Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
             No
             Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                        Reason for change: Loan Modification approved by the Court on 12/1/2021
                        Current mortgage payment:         $ 2,894.68                               New mortgage payment: $ 2,607.83




Official Form 410S1                                                    Notice of Mortgage Payment Change                                        page 1
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Debtor 1           Elena Papanikolaou                                                     Case number (if known) 19-11134-elf
                   First Name     Middle Name            Last Name




Part 4:         Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
             I am the creditor.
             I am the creditor's attorney or authorized agent.

    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:




           /s/ Roger Fay                                                                          Date    October 4, 2022
    Signature



    Print:               Roger Fay, Esq.                                                          Title       Attorney for Creditor
                         First Name                      Middle Name   Last Name



    Company              Milstead & Associates, LLC



    Address              1 E. Stow Road
                         Number                 Street

                         Marlton, NJ 08053
                         City                                          State       ZIP Code



Contact phone            (856) 482-1400                                                       Email: rfay@milsteadlaw.com




Official Form 410S1                                                    Notice of Mortgage Payment Change                                      page 2
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                               LOAN MODIFICATION AGREEMENT
                                         (Providing for Fixed Interest Rate)

              This Loan Modification Agreement ("Agreement"), effective on 1ST DAY OF MAY, 2021,
     between DIMITRI PAPANICOLAOU AND ELENA PAPANICOLAOU ("Borrower"), and
     NATION8TAR MORTGAGE LLC D/B/A MR. COOPER ("Lender"), amends and supplements (1) the
     Mortgage, Deed of Trust, or Security Deed (the "Security Instrument") dated JUNE 10, 2015 and (2)
     the Note, bearing the same date as, and secured by, the Security Instrument, which covers the real
     and personal property described in the Security Instrument and defined therein as the "Property",
     located at

                        3927 DOVE CIR, HUNTINGDON VALLEY, PENNSYLVANIA 19006
                                                   (Property Address)


              In consideration of the mutual promises and agreements exchanged, the parties hereto agree
     as follows (notwithstanding anything to the contrary contained in the Note or Security Instrument):

         1.   As of MAY 01, 2021, the amount payable under the Note and the Security Instrument (the
              "Unpaid Principal Balance") is U.S. $366,937.72, consisting of the unpaid amount(s) loaned to
              Borrower by Lender plus any interest and other amounts capitalized.

         2.   Borrower promises to pay the Unpaid Principal Balance, plus interest, to the order of Lender.
              Interest will be charged on the Unpaid Principal Balance at the yearly rate of 4.5000% from
              APRIL 01, 2021. Borrower promises to make monthly payments of principal and interest of
              U.S. $1,649.62, beginning on the 1ST DAY OF MAY, 2021, and continuing thereafter on the
              same day of each succeeding month until principal and Interest are paid in full. The yearly rate
              of 4.5000% will remain in effect until principal and interest are paid in full. If on
              APRIL 01, 2061, (the "Maturity Date"), Borrower still owes amounts under the Note and the
              Security Instrument as amended by this Agreement, Borrower will pay these amounts in full
              on the Maturity Date. The terms in this paragraph shall supersede any provisions to the
              contrary in the Loan Documents, including but not limited to, provisions for an adjustable, step
              or simple interest rate.


         3.   if all or any part of the Property or any interest in the Property is sold or transferred (or if
              Borrower is not a natural person and a beneficial Interest In Borrower is sold or transferred)
              without Lender's prior written consent, Lender may require immediate payment in full of all
              sums secured by the Security Instrument.

              if Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
              shall provide a period of not less than 30 days from the date the notice is delivered or mailed
              within which Borrower must pay all sums secured by the Security Instrument If Borrower falls
              to pay these sums prior to the expiration of this period, Lender may invoke any remedies
              permitted by the Security Instrument without further notice or demand on Borrower.

         4.   Borrower also will comply with all other covenants, agreements, and requirements of the
              Security Instrument including without limitation, Borrower's covenants and agreements to
              make all payments of taxes, insurance premiums, assessments, escrow items, impounds, and
              all other payments that Borrower is obligated to make under the Security Instrument; however,



     LOAN MODIFICATION AGREEMENT—Single Family-Fan nie Mm UNIFORM INSTRUMENT               Form 3179   1/01
     (rev, 4/14)
     91003Q02V2.7
     Version 04_05_2021_18_53_22                                                                   (page 1 of 8)
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             the following terms and provisions are forever canceled, null and void, as of the date specified
             in paragraph No. 1 above:

             (a)     all teims and provisions of the Note and Security Instrument {if any) providing for,
                     implementing, or relating to, any change or adjustment in the rate of interest payable
                     under the Note; and

             (b)     all terms and provisions of any adjustable rate rider, or other instrument or document
                     that is affixed to, wholly or partially incorporated into, or is part of, the Note or Security
                     Instrument and that contains any such terms and provisions as those referred to In (a)
                     above.

        5.   Borrower understands and agrees that:


             (a)     All the rights and remedies, stipulations, and conditions contained in the Security
                     Instrument relating to default in the making of payments under the Security Instrument
                     shall also apply to default in the making of the modified payments hereunder.

             <b>     All covenants, agreements, stipulations, and conditions in the Note and Security
                     Instrument shall be and remain in full force and effect, except as herein modified, and
                     none of the Borrower's obligations or liabilities under the Note and Security Instrument
                     shall be diminished or released by any provisions hereof, nor shall this Agreement In
                     any way impair, diminish, or affect any of Lander's rights under or remedies on the
                     Note and Security Instrument, whether such rights or remedies arise thereunder or by
                     operation of law. Also, all rights of recourse to which Lender is presently entitled
                     against any property or any other persons in any way obligated for, or liable on, the
                     Note and Security Instrument are expressly reserved by Lender.

             (c)     Nothing in this Agreement shall be understood or construed to be a satisfaction or
                     release in whole or In part of the Note and Security Instrument

             <d)     If permitted by applicable law, all costs and expenses incurred by Lender In
                     connection with this Agreement including recording fees, title examination, and
                     attorney's fees, shall be paid by the Borrower arid shall be secured by the Security
                     Instrument, unless stipulated otherwise by Lender.


             (•)    Borrower agrees to make and execute such other documents or papers as may be
                    necessary or required to effectuate the terms and conditions of this Agreement which,
                    if approved and accepted by Lender, shall bind and inure to the heirs, executors,
                    administrators, and assigns of the Borrower.


             (f)     Borrower authorizes Lender,        and   Lender's successors and        assigns,     to share
                    Borrower's Information including, but not limited to (I) name, address, and telephone
                    number, (ii) Social Security Number, (Hi) credit score, (Iv) income, (v) payment history,
                    (vi) account balances and activity, including Information about any modification or
                    foreclosure relief programs, with Third Parties that can assist Lender and Borrower in
                    obtaining a foreclosure prevention alternative, or otherwise provide support services
                    related to Borrower's loan. For purposes of this section, Third Parties include a
                    counseling agency, state or local Housing Finance Agency or similar entity, any
                    Insurer, guarantor, or servicer that insures, guarantees, or services Borrower's loan or

    LOAN MODIFICATION AGREEMENT—Singls Family-Fannla Mas UNIFORM INSTRUMENT                   Form 3179    1/01
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                    any other mortgage loan secured by the Property on which Borrower Is obligated, or
                    to any companies that perform support services to them in connection with Borrower's
                    loan.

                    Borrower consents to being contacted by Lender or Third Parties concerning
                    mortgage assistance relating to Borrower's loan Including the trial period plan to
                    modify Borrower's loan, at any telephone number, including mobile telephone
                    number, or email address Borrower has provided to Lender or Third Parties.

                        By checking this box, Borrower also consents to being contacted by text
                    messaging.


            (9)     Borrower hereby absolutely and unconditionally assigns and transfers to Lender all
                    leases of the Property and all security deposits made In connection with leases of the
                    Property. Upon this assignment, Lender shall have the right to modify, extend or
                    terminate the existing leases and to execute new leases, in Lender's sole discretion.
                    As used in this paragraph, the word "lease" shall mean "sublease" if the Security
                    Instrument Is on a leasehold estate.

                    Borrower hereby absolutely and unconditionally assigns and transfers to Lender all
                    the rents and revenues ("Rents") of the Property, regardless of to whom the Rents of
                    the Property are payable. Borrower authorizes Lender or Lender's agents to collect
                    the Rents, and agrees that each tenant of the Property shall pay the Rents to Lender
                    or Lender's agents. However, Borrower shall receive the Rente until (i) Lender has
                    given Borrower notice of default under this Agreement, pursuant to Section 22 of the
                    Security Instrument, and (II) Lender has given notice to the tenant(s) that the Rents
                    are to be paid to Lender or Lender's agent. This assignment of Rente constitutes an
                    absolute assignment and not an assignment for additional security only.

                    If Lender gives notice of default to Borrower (I) all Rents received by Borrower shall
                    be held by Borrower as trustee for the benefit of Lender only, to be applied to the
                    sums secured by the Security Instrument; (ii) Lender shall be entitled to collect and
                    receive all of the Rente of the Property; (iii) Borrower agrees that each tenant of the
                    Property shall pay all Rente due and unpaid to Lender or Lender's agents upon
                    Lender's written demand to the tenant; (Iv) unless applicable law provides otherwise,
                    all Rents collected by Lender or Lender's agents shall be applied first to the costs of
                    taking control of and managing the Property and collecting the Rents, Including, but
                    not limited to, attorney's fees, receiver's fees, premiums on receiver's bonds, repair
                    and maintenance costs, insurance premiums, taxes, assessments and other charges
                    on the Property, and then to the sums secured by the Security Instrument; (v) Lender,
                    Lender's agents or any judicially appointed receiver shall be liable to account for only
                    those Rents actually received; and (vi) Lender shall be entitled to have a receiver
                    appointed to take possession of and manage the Property and collect the Rents and
                    profits derived from the Property without any showing as to the inadequacy of the
                    Property as security.

                    If the Rents of the Property are not sufficient to cover the costs of taking control of and
                    managing the Property and of collecting the Rente any funds expended by Lender for
                    such purposes shall become indebtedness of Borrower to Lender secured by the
                    Security instrument pursuant to Section 9 of the Security Instrument.

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    (rev. 4/14}
    91003002v2.7
    Version 04_05_2021 18_S3 22                                                                     (paga3of8)
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                      Borrower represents and warrants that Borrower has not executed any prior
                      assignment of the Rents and has not performed, and will not perform, any act that
                      would prevent Lender from exercising its rights under this paragraph.

                      Lender, or Lender's agents or a judicially appointed receiver, shall not be required to
                      enter upon, take control of or maintain the Property before or after giving notice of
                      default to Borrower. However, Lender, or Lender's agents or a judicially appointed
                      receiver, may do so at any time when a default occurs. Any application of Rents shall
                      not cure or waive any defairit or invalidate any other right or remedy of Lender. This
                      assignment of Rents of the Property shall teiminate when all the sums secured by the
                      Security Instrument are paid In full.

             (h)      In any foreclosure action dismissed as a result of entering into this Agreement,
                      Borrower will remain liable for and bear his or her own attorney fees and costs
                      incurred in connection with such action, if permitted by applicable law.

             (i)      The mortgage insurance premiums on Borrower's Loan may increase and the date on
                      which Borrower may request cancellation of mortgage insurance may change as a
                      result of the loan modification.


             G)       Any Borrower who co-signed the Security Instrument but did not execute the Note (a
                      "Co-signer") and has not assumed the debt; (a) Is co-signing this Agreement only to
                      acknowledge the Agreement; (b) is not personally obligated to pay the sums secured
                      by the Security Instrument; and (c) agrees that Lender and any other Borrower can
                      agree to extend, modify, forbear or make any accommodations with regard to the
                      terms of the Security Instrument or the Note without the Co-signer's consent.

        6.   Notwithstanding anything to the contrary contained in this Agreement, Borrower and Lender
             acknowledge the effect of a discharge in bankruptcy that has been granted to Borrower prior
             to the execution of this Agreement and that Lender may not pursue Borrower for personal
             liability. However, Borrower acknowledges that Lender retains certain rights, including but not
             limited to the light to foreclose its lien evidenced by the Security Instrument under appropriate
             circumstances. The parties agree that the consideration for this Agreement is Lender's
             forbearance from presently exercising its rights and pursuing Its remedies under the Security
             Instrument as a result of Borrower's default thereunder. Nothing in this Agreement shall be
             construed to be an attempt to collect against Borrower personally or an attempt to revive
             personal liability.

        7.   If Borrower is a Debtor in an active bankruptcy proceeding, Court and/or Bankruptcy Trustee
             approval of this modification agreement may be required depending upon jurisdictional
             requirements. If Court and/or Bankruptcy Trustee approval of the modification is required, the
             modification agreement will not be effective unless evidence of the required approval is
             provided.

        8.   Borrower will pay to Lender on the day payments are due under the Loan Documents as
             amended by this Agreement, until the Loan Is paid in full, a sum (the "Funds") to provide for
             payment of amounts due for (a) taxes and assessments and other items which can attain
             priority over the Mortgage as a lien or encumbrance on the Property; (b) leasehold payments
             or ground rents on the Property, If any; (c) premiums for any and all Insurance required by

     LOAN MODIFICATION AGREEMENT—Single FamKy—Fannie Mae UNIFORM INSTRUMENT                Form 3179   1/01
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            lender under the Loan Documents; (d) mortgage insurance premiums, if any, or any sums
            payable to Lender in lieu of the payment of mortgage insurance premiums in accordance with
            the Loan Documents; and (e) any community association dues, fees, and assessments that
            Lender requires to be escrowed. These Items are called "Escrow items." Borrower shall
            promptly furnish to Lender all notices of amounts to be paid under this paragraph. Borrower
            shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to
            pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay to
            Lender Funds for any or ail Escrow Items at any time. Any such waiver may only be In writing.
            In the event of such waiver, Borrower shall pay directly, when and where payable, the
            amounts due for any Escrow Items for which payment of Funds has been waived by Lender
            and, If Lender requires, shall furnish to Lender receipts evidencing such payment within such
            time period as Lender may require. Borrower's obligation to make such payments and to
            provide receipts shall for all purposes be deemed to be a covenant and agreement contained
            in the Loan Documents, as the phrase "covenant and agreement" is used in the Loan
            Documents. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
            Borrower falls to pay the amount due for an Escrow Item, Lender may exercise its rights under
            the Loan Documents and this Agreement and pay such amount and Borrower shall then be
            obligated to repay to Lender any such amount. Lender may revoke the waiver as to any or all
            Escrow Items at any time by a notice given in accordance with the Loan Documents, and,
            upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are
            then required under this paragraph.

            Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender
            to apply the Funds at the time specified under the Real Estate Settlement Procedures Act
            ("RESPA"), and (b) not to exceed the maximum amount a lender can require under RESPA.
            Lender shall estimate the amount of Funds due on 1he basis of current data and reasonable
            estimates of expenditures of future Escrow Items or otherwise in accordance with applicable
            law.

            The Funds shall be held in an institution whose deposits are insured by a federal agency,
            instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so
            insured) or in any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow
            Items no later than the time specified under RESPA. Lender shall not charge Borrower for
            holding and applying the Funds, annually analyzing the escrow account, or verifying the
            Escrow Items, unless Lender pays Borrower interest on the Funds and applicable law permits
            Lender to make such a charge. Unless an agreement is made in writing or applicable law
            requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any
            interest or earnings on the Funds. Lender and Borrower can agree In writing, however, that
            interest shall be paid on the Funds. Lender shall provide Borrower, without charge, an annual
            accounting of the Funds as required by RESPA.

            If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account
            to Borrower for the excess funds in accordance with RESPA. if there is a shortage of Funds
            held In escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA,
            and Borrower shall pay to Lender the amount necessary to make up the shortage In
            accordance with RESPA, but In no more than 12 monthly payments. If there is a deficiency of
            Funds held In escrow, as defined under RESPA, Lender shall notify Borrower as required by
            RESPA, and Borrower shall pay to Lender the amount necessary to make up the deficiency in
            accordance wfth RESPA, but in no more than 12 monthly payments.



    LOAN MODIFICATION AGREEMENT—Single FamRy-Fonnlo Maw UNIFORM INSTRUMENT              Form 1179   1/01
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            Upon payment In full of all sums secured by the Loan Documents, Lender shall promptly
            refund to Borrower any Funds held by Lender.

                             (SIGNATURES CONTINUE ON FOLLOWING PAGES)




    LOAN MODIFICATION AGREEMENT—Single Family—Fannia Mm UNIFORM INSTRUMENT      Form 3179   1/01
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     In Witness Whereof, the Borrowers) have executed this agreement.



     Borrower-     Dl
                        _       -.h
                            •APAtlROLAOU
                                                                               Date:   t,1

                                   j±                                          Date: 0<{lCftlZ02/
     Borrower-     ELENA PAPANIKOLAOU




     LOAN MODIFICATION AGREEMENT—Single Family-Fannie Mae UNIFORM INSTRUMENT           Form 3179   1/01
     (rev. 4/14)
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    In Witness Whereof, the Lender has executed this Agreement

     Lender

     NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER




     By:


    Printed Name:
                            Shanon Prrtchard
                            Vice President
    Title:




    Date:




    LOAN MODIFICATION AGREEMENT—Single Family-Fannl# Mae UNIFORM INSTRUMENT   Form 3179   1/01
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                                 DOCUMENT CORRECTION AGREEMENT
                                                ("Agreement")



     AGREEMENT       TO   CORRECT      MISSTATED      DOCUMENTS AND          TO    PROVIDE ADDITIONAL
     DOCUMENTATION: In consideration of NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
     providing the loan modification (the "Workout") as requested by the undersigned ("Borrower"), and
     regardless of the reason for any loss, misplacement, or Inaccuracy in any of the enclosed documents,
     Borrower agrees as follows: If any document is lost, misplaced, misstated or inaccurately reflects the
     true and correct terms and conditions of the Workout, upon request of NATIONSTAR MORTGAGE
     LLC D/B/A MR. COOPER, the Borrower will comply with any request to execute, acknowledge, and
     deliver to NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER any documentation ("Replacement
     Documents") NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER deems necessary to replace or
     correct the lost, misplaced, misstated or inaccurate documents). The Borrower agrees to deliver the
     Replacement Documents within ten (10) days after receipt by the Borrower of a written request for
     such replacement.

     REQUEST BY NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER: Any request under Oils
     Agreement made by NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER, (including assignees and
     persons acting on behalf of NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER), shall be prima
     facie evidence of the necessity for the sane. A written statement addressed to the Borrower, first class
     postage prepaid, at the mailing address indicated in our records shall be considered conclusive
     evidence of receipt by the Borrower of the request for Replacement Documents.

     BORROWER LIABILITY: If the Borrower fails or refuses to execute, acknowledge, and deliver the
     Replecement Documents to NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER more than ten
     (10) days after being requested to do so by NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER,
     the Borrower shall be liable for any and all loss or damage which NATIONSTAR MORTGAGE LLC
     D/B/A MR. COOPER reasonably sustains thereby, Including, but not limited to, all reasonable
     attorneys' fees and costs incurred by NATIONSTAR MORTGAGE LLC D/B/A MR COOPER In
     addition, NATIONSTAR MORTGAGE LLC D/B/A MR COOPER may elect to declare the Workout null
     and void in which case the loan shall be payable at the rate and on the teims as existed prior to the
     Workout. Any funds received by NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER In conjunction
     with the Workout shall be retained by NATIONSTAR MORTGAGE LLC D/B/A MR COOPER and
     applied to the loan as determined by NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER in its
     discretion.             *


                                                                                   Date:   H , ?,           (
     Dll     PAPAN KOLAOU



                                                                                   Date:   Mi H 2oIf
              •AWiNTKOLAbVL,




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                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:
      Elena Papanikolaou,                          Bankruptcy No. 19-11134-elf
                  Debtor,                          Chapter 13

 Nationstar Mortgage LLC,
                  Secured Creditor,

 Elena Papanikolaou,
                  Debtor / Respondent,

 and
 KENNETH E. WEST,
              Trustee / Respondent.

                               CERTIFICATION OF SERVICE

       Roger Fay, Esquire counsel for Nationstar Mortgage LLC, hereby certifies that a copy of
the Notice of Mortgage Payment Change was served upon the following persons via electronic
transmission or by regular first-class mail, postage pre-paid on October 4, 2022, addressed as
follows:

 KENNETH E. WEST                                Brandon J. Perloff, Esquire
 Office of the Chapter 13 Standing Trustee      Kwartler Manus, LLC
 1234 Market Street - Suite 1813                1333 Race Street
 Philadelphia, PA 19107                         Philadelphia, PA 19107
 via electronic transmission and regular mail   via electronic transmission and regular mail
 Elena Papanikolaou
 3927 Dove Circle
 Huntingdon Valley, PA 19006
 via regular mail

                                                MILSTEAD & ASSOCIATES, LLC

 DATED: October 4, 2022                         By: /s/ Roger Fay, Esq., ID No. 315987
                                                rfay@milsteadlaw.com
                                                1 E. Stow Road
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